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IN THE UNITED STATES DlSTR[CT COURT
FOR THE WESTER_N DISTRICT OF PENNSYLVAN]A

uNrraD srArEs or AMERrCA ` 3
criminal No. /BU ii

(15 U.s.C. §§ 7sj(b) and vsfr(a),
17 C.F.R. § 240.10b-5,

18 U.s.c. § 1343, and

26 U.s.c. § 7206(1))

<i

DOUGLAS P. SIMANSKI

INFORMA'I`ION

The United States Attorne}r charges:

INTRODUCTION

At all times material to this lnformation:

l. The antifraud provisions of the federal securities laws, including Section 10b of
the Securities Exchange Act of 1934, codified at Title l§, United States Code, Section 78j(b), and
Rule 10b-5 thereunder, codified at Title l7, Code of Federal Regulations, Section 240.10b-5,
prohibit fraudulent activities in connection with the buying and selling of securities

2. NEXT Financial Group, Inc. ("NEXT"), was a brokerage and investment advisor
flrm that sold securities and whose main office was located in Houston, Texas.

3. A brokerage firm, also called a broker-dealer, is in the business of buying and
selling securities - stocks, bonds, mutual funds, and certain other investment products - on
behalf of its customer {as broker), for its own bank (dealer), or both.

4. An investment adviser is paid for providing advice about securities to clients,
managing investment portfolios for clients, or offering financial planning services to clients.

5. 'I`he defendant, DOUGLAS P. SIMANSKI, was a registered representative of

NEXT, and worked from the NEXT Office in Altoona, Pennsylvania. As an employee of NEXT,

 

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SIMANSKI was contracted to offer to his clients only investment products and securities through

NEXT.

6. Investments offered and sold by defendant, DOUGLAS P. SIMANSKI, were
securities as defined by the Securities Excharige Act of 1934. l
7. The defendant, DOUGLAS P. SlMANSKI, had complete control over the funds
received from the investors and made decisions concerning the use of those funds without the
knowledge or participation of any of the investors
TI~IE SCHEME TO DEFRAUD
8. From in and around February 2002, and continuing thereafter to in and around May
2016, in the Westerri District of Pennsylvania, and elsewhere, the defendant, DOUGLAS P.
SIMANSKI, did knowingly and willfully and with the intent to defraud, by the use of means and
instrumentalities of interstate commerce and of the mails, directly and indirectly used and
employed manipulative and deceptive devices and contrivances in connection with the purchase
and sale of securities, that is, through "Tax Free Investment" contracts, did (a) employ a device,
scheme, and artifice to defraud, (b) make untrue statements of material facts and omit to state
material facts necessary in order to make the statements made, in light of the circumstances under
which they were made, not misleading, and (c) engage in acts, practices and courses of business
which would and did operate as a fraud and deceit upon others in connection with the purchase
and sale of said securities, in that, when obtaining at least 34.5 million from investors, he falsely
told the investors the funds would be invested in various securities with a specific rate of return
when, in truth and in fact, as defendant, DOUGLAS P. SIMANSKI, Well knew and believed the

pretenses, representations and promises were false and fraudulent when made.

 

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MANNER AND MEANS OF THE SCHEME TO DEFRAUD

9. From in and around February 2002, to in and around May 2016, the defendant,
DOUGLAS P. SIMANSKI, solicited approximately 31 clients, whom he met through his
employment as a financial advisor with NEXT, to participate in various investment opportunities
directly with him.

lO. The defendant, DOUGLAS P. SIMANSKI, told the clients he could offer higher
rates of'returri on investment opportunities and securities than available through NEXT.

l l. A'mong the investors solicited was a number of elderly and/or retired clients whom
he encouraged and solicited to invest their retirement funds and accounts with him.

12. The defendant, DOUGLAS P. SIMANSKI, fabricated documents such as "Tax
Free lnvestment" contracts and "CDs" and presented the documents to investors. The fabricated
documents served as a receipt to the investors and also detailed guaranteed rates of return and
payout, and described the nature of the specific investment, such as a “Payless Car Rental Bond"
or “coal mine." Non_e of the contracts or other security instruments used by the defendant,
DOUGLAS P. SIMANSKI, was registered with either the United States Securities and Exchange
Commission or with the Commonwealth of Pennsylvania.

13. 'I`he defendant, DOU_GLA_S P. SIMANSKI, in truth and in fact, deposited, via
electronic transfer and the United States mail, the client funds into an E*Trade account he
established in his wife's name. Funds were also deposited and electronically transferred to a
personal account over which the defendant, DOUGLAS P. SIMANSKI, had signatory authority.

l4. The defendant, DOUGLAS P. SlMANSKI, used the invested funds to repay other

investors to make it appear their investments were legitimate, and to pay for various personal

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15. The defendant, DOUGLAS P. SIMANSKI, made untrue statements of a material
fact to the investors, and omitted to state material facts necessary in order to make the statements
made, in light of the circumstances under which they were made, not misleading, in that he advised
the investors their funds would be used for investment purposes and invested in various securities
when, in truth and in fact, he used the diverted funds for personal expenses, horne improvement
projects, and to pay other investors a portion of their guaranteed return.

l6. From on or about March l, 2010, to on or about October 9, 2015, in the
Western District of Pennsylvania, and elsewhere, the defendant, DOUGLAS P. SIMANSKI,
did knowingly and willfully and with the intent to defraud, by the use of means and
instrumentalities of interstate commerce and of the mails, directly and indirectly used and
employed manipulative and deceptive devices and contrivances in connection with the
purchase and sale of securities, that is, through "Tax Free lnvestment" contracts and "CDS" did
(a) employ a device, scheme, and artifice to defraud, (b`) make untrue statements of material
facts and omit to state material facts necessary in order to make the statements made, in light
of the circumstances under which they were made, not misleading, and (c) engage in acts,
practices and courses of business which would and did operate as a fraud and deceit upon
others in connection with the purchase and sale of said securities, in that, when obtaining a
total of $286,200 from Invcstor W.T. on seven different occasions during this period, including
the cash surrender value of a_ life insurance policy for the terminally ill wife of Investor W.T.,

falsely told Investor W.T. the money would be used to purchase various securities when, in

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fact, the defendant, DOUGLAS :P. SIMANSKI, intended to use convert the money to be used

for his personal expenses
All in violation of Title 15, United States Code, Sections 78j(b) and 78ff(a), and 'l`itle

l7, Code of Federal Regulations, Section 240.10b-5.

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COUNT TWO

The United States Attorney further charges:

From in and around February 2002, and continuing thereafter to in and around May
2016, in the Western District of Pennsylvania, and elsewhere, the defendant, DOUGLAS P.
SIMANSKI, did knowingly and willfully, devise and intend to devise a scheme and artifice to
defraud, and to obtain money and property, to wit, the sum of approximately $4,584,700.00 from
various individuals by means of false and fraudulent pretenses, representations and promises,
well knowing the pretenses representations and promises were false and fraudulent when made,
and for the purpose of executing and attempting to execute the scheme and artifice to defraud did
transmit and cause to be transmitted in interstate commerce by means of wire communication,
certain signs and signals

Paragraphs One through Seven are incorporated by reference as though fully set forth
herein.

lt was part of the scheme and artifice to defraud that in February 2002, DOUGLAS P.
SIMANSKI, as an employee of N'EXT, began soliciting individual investors he met through
NEXT, a number of whom Were elderly and/or retired, to invest their retirement funds and accounts
with him personally rather than through NEXT.

lt was further part of the scheme and artifice to defraud that defendant, DO`UGLAS P.
SIMANSKI, fabricated security documents such as "Tax Free lnvestment" contracts and "CDs"
and presented the fabricated documents to potential investors

lt Was further part of the scheme and artifice to defraud that the fabricated documents
provided for various guaranteed rates of return, guaranteed payouts, and the nature of the

investment, such as a "Payiess Car Rental Bond" or a "coal mine."

 

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lt was further part of the scheme and artifice to defraud that defendant, DOUGLAS P.
SIMANSKI, established an E*Trade account in his wife's name.

lt was further part of the scheme and artifice to defraud that defendant, DOUGLAS
P. SIMANSKI_, deposited the funds received from the investors into the E*Trade account, via
electronic wire transfer, without the knowledge of NEXT.

It was further part of the scheme and artifice to defraud that defendant, DOUGLAS P.
SIMANSKl, electronically transferred a portion of the funds to a personal account over which he
had signatory authority. w

lt was further part of the scheme and artifice to defraud that defendant, DOUGLAS P.
Sli\/IANSKI, returned a portion of the invested funds to various other investors to make it appear
their respective investments were legitimate and producing the rate of return promised by
DOUGLAS P. SlMANSKI.

lt was further part of the scheme and artifice to defraud that defendant, DOUGLAS P.
SlMANSKI, converted some of the invested funds to be used for various personal expenses

On or about .lanuary 29, 2014, in the Western District of Pennsylvania, and elsewhere,
the defendant, DOUGLAS P. SIMANSKI, for the purpose of executing and attempting to execute
the scheme and artifice to defraud did transmit and cause to be transmitted in interstate commerce
by means of wire communication, certain signs and signals, that is the defendant, DOUGLAS P.
SIMANSKI, caused a check in the amount of $lO0,000 he received from lnvestors G.E. and D.E
to be electronically processed and deposited with E*Trade.

In violation of Title 18, United States Code, Section 1343.

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COUNT THREE

The United States Attorney further charges:

On or about October 13, 2013, in the Western District of Pennsylvania and
elsewhere, the defendant, DOUGLAS P. SIMANSKI, a resident of Lilly, Cambria County,
Pennsylvania, did willfully make, and cause to be made, and subscribe and cause to be subscribed,
a U.S. Individual lncome Tax Return, Form 1040J for calendar year 2012 which was verified by a
written declaration that it was made under penalty of perjury and was filed with the Intemal
Revenue Service, and which the defendant, DOUGLAS P. SIMANSKI, did not believe to be true
and correct as to every material matter, in that he stated on said Form 1040 that his taxable income
for calendar year 2012 was $26,076.00 and that the amount of tax due and owing thereon was the
sum of $12,894.00, whereas the defendant, DOUGLAS P. SlMANSKl, then and there well knew
and believed, his taxable income for calendar year 2012 was the sum of $533,823.00 upon which
said taxable income there was due and owing to the United States of America income tax of
$143,032.00.

ln violation of Title 26, United States Code, Section 7206(1).

 

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COUNT FOUR
The United States Attorney further charges:
On or about October 9, 2014, in the Westem District of Pennsylvania and
elsewhere, the defendant, DOUGLAS P. SIMANSKI, a resident of Lilly, Cambria County,

Pennsylvania, did willfully make, and cause to be made, and subscribe and cause to be subscribed,

a U.S. lndividual lncome Tax Return, Forrn 1040, for calendar year 2013 which was verified by a `

written declaration that it was made under penalty of perjury and Was filed with the Intemal
Revenue Service, and which the defendant, DOUGLAS P. SIMANSKl, did not believe to be true
and correct as to every material matter, in that he stated on said Form 1040 that his taxable income
for calendar year 2013 was $5,856.00 and that the amount of tax due and owing thereon was the
sum of $10,474.00, whereas the defendant, DOUGLAS P. SIMANSKI, then and there well knew
and believed, his taxable income for calendar year 2013 was the sum of 5164,068.00 upon which
said taxable income there was due and owing to the United States of America income tax of
325,926.00. y

ln violation of Title 26, United States Code, Section 7206(1).

 

 

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COUNT FIVE

The United States Attorney further charges:

On or about October 15, 2015, in the Westem District of Pennsylvania and
elsewhere, the defendant, DOUGLAS P. SIMANSKI, a resident of Lilly, Cambria CountyJ
Pennsylvania, did willfully make, and cause to be made, and subscribe and cause to be subscribed,
a U.S. lndividual lncome TaxReturn, Form 1040, for calendar year 2014 which was verified by a
written declaration that it was made under penalty of perjury and was filed with the lnternal
Revenue Service, and which the defendant, DOUGL-AS P. SIMANSKI, did not believe to be true
and correct as to every material matter, in that he stated on said Form 1040 that his taxable income
for calendar year 2014 was ($0) and that the amount of tax due and owing thereon was the sum of
$8,055.00, whereas the defendant, DOUGLAS P. SIMANSKI, then and there well knew and
believed, his taxable income for calendar year 2014 was the sum of $204,429.00 upon which said
taxable income there was due and owing to the United States of America income tax of $38,429.00.

ln violation of Title 26, United States Code, Section 7206(1).

l scott W. BRADY ‘-/

United States Attorney
PA ID No. 88352

